                                              UNITED STATES DISTRICT COURT
                                               NORTHERN DISTRICT OF IOWA
                                                   WESTERN DIVISION
                  MONICA VENESKY,
                                                                           CASE NO. 5:10-cv-04079
                                 Plaintiff,
                  vs.                                                   STIPULATION OF DISMISSAL
                                                                             WITH PREJUDICE
                  NORTHWEST AIRLINES, INC., and
                  DELTA AIR LINES, INC.,

                                 Defendants.

                          COME NOW the parties, pursuant to F.R.Civ.P. 41(a)(1)(A)(ii) and stipulate to

                  dismissal of this case, with prejudice. Each party is paying its own costs and attorney fees.




                                                               /s/ Debra L. Hulet
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